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 9                                   UNITED STATES DISTRICT COURT
10                                 EASTERN DISTRICT OF CALIFORNIA
11                                         FRESNO DIVISION
12
13 Sherry Fenn,                                          Case No.: 1:10-cv-02012-LJO-SKO
14                           Plaintiff,                  ORDER ON JOINT
15           vs.                                         STIPULATION FOR
                                                         DISMISSAL WITH
16 Alliance One, Inc.,                                   PREJUDICE
17                           Defendant.
18
19
              Based on the Joint Stipulation and Motion to Dismiss Entire Action, with Prejudice
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21 filed in this action, the above-captioned action is hereby dismissed with prejudice. The Clerk
22 of the court is directed to close this action in its entirety.
23
     IT IS SO ORDERED.
24
25 Dated: February 10, 2011
26                                                      /s/ Lawrence J. O’Neill_______________
                                                        HON. LAWRENCE J. O’NEILL
27                                                      U.S. DISTRICT JUDGE
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     1:10-cv-02012-LJO-SKO                                                JOINT STIP FOR DISMISSAL
